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Dear Mrs. Pamela Pepper,
                          .
My,name is Eric Garcia, and I am currently a senior at Colquitt County Highschool. I am writing to you today in
regard to Saul Garcia and the momentous impact that his current situation has had on not only my life, but the
Garcia family as a whole.

Saul Garcia is not my biological father. However, I cannot recall a single identifiable time in my life when I
haven't felt his love and received his guidance as a father in my times of uncertainty, hardship, or even victory.
He has treated me as his own since the day I was born and for that I thank him as his care for me was never
obligatory, but nonetheless he received me into his heart with open arms. Throughout my life he has served as
nothing but a role model and a testament to the importance of strong moral values and diligence in any realm of
endeavor. He has instilled in me the drive for success and strongly encourages me to do my best in school so as
to have a better life and suffer less than he has had to throughout his life. I am currently on track to be
Salutatorian of my class and I can only attribute my distinction to the influence that my father has had on me. The
road on which he has traveled to arrive where he is at in life has been nothing less than burdensome, however
his indefatigability_is what has allowed l)im to ascend from poverty and I can't help but feel as though I, as well
as everyone that he has had an impact on, consequently carries a piece of his perseverance as he is just that
kind of man to bring the best out of people.

The impact that my family's current situation has had on our standing in the community is evident. Beginning in
2019, a slew of slanderous social media posts and news articles began to circulate throughout my community,
portraying my family as some kind of monsters without having much insight as to what was truly going on.
Imagine being 14 years old and having one of your classmates post about your mom going to jail as if it were
funny. Comments about my family became routine for the first few months, and while not all were with malicious
intent, I am sure that solely from them having the idea of what my family had supposedly done would alter how
they viewed us for the worse. My god brother even encountered an assignment that was based on a news
article about us. My family's case was being taught in the same school that I attend to the same classn:iates that I
see everyday.

Fast Forward a few years later and my family's situation is more uncertain than ever and with the knowledge that
my father might go to prison, I grapple everyday with the idea of living in a world without his guidance for
however long it may be. I am in my last year of high school and have worked assiduously throughout my
academic career and the idea of walking that podium without my father there would make everything I have
worked for seem void of its purpose as I can say without a doubt that my father is the main reason I have arrived
at where I am today. Saul Garcia is not a monster and is in fact far from it. He is a loving and caring father and a
role model for all. He is my Hero.
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 Sincerely,
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